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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------x
JOSEPH JODELLE and OLIVIA GRAHAM,                                      DKT#: 14-cv-8094

                                Plaintiffs,                       FIRST AMENDED COMPLAINT

             - against -                                          JURY TRIAL DEMANDED

THE CITY OF NEW YORK,                                      ECF CASE
P.O. JAMES CAUSA, and
P.O. “JOHN DOE” #1-10, individually
and in their official capacities (the name John Doe
being fictitious as the true names are presently unknown),

                                    Defendants.
--------------------------------------------------------------------x
         Plaintiffs, JOSEPH JODELLE and OLIVIA GRAHAM, by their attorneys, TREYVUS &

KONOSKI, P.C., complaining of the defendants, respectfully allege as follows:

                                  PRELIMINARY STATEMENT

          1. Plaintiff brings this action for compensatory damages, punitive damages and

attorney’s fees pursuant to 42 U.S.C. §§ 1983 and 1988 for violations of his civil rights, as said

rights are secured by said statutes and the Constitutions of the State of New York and the United

States.

                                           JURISDICTION

          2. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the First, Fourth,

Fifth, Eight and Fourteenth Amendments to the United States Constitution.

          3. Jurisdiction is founded upon 28 U.S.C. §§ 1331, 1343 and 1367.

                                                VENUE

          4. Venue is properly laid in the Southern District of New York under 28 U.S.C. §

1391(b), in that this is the District in which the claim arose.
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                                         JURY DEMAND

        5. Plaintiff respectfully demands a trial by jury of all issues in this matter pursuant to

Fed. R. Civ. P. 38(b).

                                             PARTIES

        6. Plaintiffs, JOSEPH JODELLE and OLIVIA GRAHAM, are citizens of the United

States and at all relevant times a resident of the City and State of New York.

        7. THE CITY OF NEW YORK, was and is a municipal corporation duly organized and

existing under and by virtue of the laws of the State of New York.

        8. THE CITY OF NEW YORK, maintains the New York City Police Department, a

duly organized public authority and/or police department, authorized to perform all functions of a

police department as per the applicable sections of the New York State Criminal Procedure Law,

acting under the direction and supervision of the aforementioned municipal corporation, THE

CITY OF NEW YORK.

        9. That at all times hereinafter mentioned, the individually named defendants, P.O.

JAMES CAUSA and P.O. “JOHN DOE” # 1-10, were duly sworn police officers of THE CITY

OF NEW YORK Police Department and were acting under the supervision of said department and

according to their official duties.

        10. That at all times hereinafter mentioned, the defendants, either personally or through

their employees, were acting under color of state law and/or in compliance with the official rules,

regulations, laws, statutes, customs, usages and/or practices of the State of New York or THE

CITY OF NEW YORK.

        11. Each and all of the acts of the defendants alleged herein were done by said defendants

while acting within the scope of their employment by THE CITY OF NEW YORK.
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       12. Each and all of the acts of the defendants alleged herein were done by said defendants

while acting in furtherance of their employment by THE CITY OF NEW YORK.

                                            FACTS

       13. The Plaintiff, JODELLE JOSEPH, is a law enforcement officer and works as a

Sanitation Police Officer in the City of New York.

       14. On Friday, August 29, 2014, the Plaintiff, JODELLE JOSEPH was at a gathering with

friends at a home located at 829 East 226th Street in the County of Bronx, State of New York.

       15. Also present at the gathering was the Plaintiff, OLIVIA GRAHAM.

       16. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 entered the yard of the residence

and announced their presence.

       17. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 started demanding that the people

in the yard provide information about a shooting that occurred in the neighborhood recently.

       18. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 did not have a warrant or any

other legal authority to enter the yard.

       19. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 searched everyone in the yard,

including JODELLE JOSEPH and OLIVIA GRAHAM.

       20. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 did not have lawful authority,

probable cause, or reasonable suspicion to search anyone in the yard, including JODELLE

JOSEPH and OLIVIA GRAHAM.

       21. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 found a bag of Marijuana that one

person had in their possession. That person admitted the small bag of Marijuana was his.

However, P.O. “JOHN DOE” #1-10 arrested numerous people for the bag of Marijuana, including

JODELLE JOSEPH and OLIVIA GRAHAM.
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       22. The Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM were not in actual or

constructive possession of the small bag of Marijuana and P.O. JAMES CAUSA and P.O. “JOHN

DOE” # 1-10 were all patently aware that the Plaintiffs were not in actual or constructive

possession of the small bag of Marijuana.

       23. The Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM were handcuffed and

taken into custody. The Plaintiffs were brought to the 47th Police Precinct in Bronx County.

       24. The Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM were each held in custody

for more than 24 hours.

       25. P.O. JAMES CAUSA and P.O. “JOHN DOE” #1-10 did not have probable cause to

arrest the Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM.

       26. The Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM were released without any

criminal charges.

       27. The Plaintiffs, JODELLE JOSEPH and OLIVIA GRAHAM were each held in custody

for more than 24 hours before they were released.

       28. As a result of the foregoing, plaintiff sustained, inter alia, physical pain and injury,

loss of enjoyment of life, loss of liberty, emotional distress, mental anguish, embarrassment and

humiliation, shame, indignity, damage to reputation, and deprivation of his constitutional rights.

                        FIRST CLAIM FOR RELIEF
        DEPRIVATION OF FEDERAL CIVIL RIGHTS UNDER 42 U.S.C. § 1983

       29. Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “28” with the same force and effect as if fully set forth herein.

       30. All of the aforementioned acts of defendants, their agents, servants and employees

were carried out under the color of law.

       31. All of the aforementioned acts deprived plaintiff of the rights, privileges and
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immunities guaranteed to citizens of the United States by the First, Fourth, Fifth, Eighth and

Fourteenth Amendments to the Constitution of the United States of America and in violation of 42

U.S.C. § 1983

        32. The acts complained of were carried out by the aforementioned individual defendants

in their capacities as police officers, with all the actual and/or apparent authority attendant thereto.

        33. The acts complained of were carried out by the aforementioned individual defendants

in their capacities as police officers, pursuant to the customs, usages, practices, procedures and

rules of THE CITY OF NEW YORK and the New York Police Department, all under the

supervision of ranking officers of said department.

        34. Defendants collectively and individually, while acting under color of state law,

engaged in conduct which constituted a custom, usage, practice, procedure or rule of his/her

respective municipality/authority, which is forbidden by the Constitution of the United States.

                               SECOND CLAIM FOR RELIEF
                            FALSE ARREST UNDER 42 U.S.C § 1983

        35. Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “34” with the same force and effect as if fully set forth herein.

        36. As a result of defendants’ aforementioned conduct, plaintiff was subjected to an

illegal, improper and false arrest by the defendants and taken into custody and caused to be falsely

imprisoned, detained, confined, and incarcerated by the defendants without any probable cause,

privilege or consent.

        37. That the detention of the plaintiff by the defendants was objectively unreasonable and

in violation of Plaintiff’s constitutional rights.

        38. As a result of the foregoing, the plaintiffs’ liberty was restricted for an extended period
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of time, and plaintiffs were put in fear for their safety, were humiliated and subjected to

handcuffing, and other physical restraints, all without probable cause, and plaintiffs sustained, inter

alia, loss of enjoyment of life, loss of liberty, emotional distress, mental anguish, embarrassment

and humiliation, shame, indignity, damage to reputation, and deprivation of his constitutional

rights.

                           THIRD CLAIM FOR RELIEF
                UNLAWFUL SEIZURE (OF PERSON) UNDER 42 U.S.C § 1983

          39. Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “38” with the same force and effect as if fully set forth herein.

          40. As a result of defendants’ aforementioned conduct, the Plaintiffs were subjected to an

illegal, improper and unlawful warrantless search and seizure of their person without any probable

cause, privilege, or consent.

          41. That the search and seizure of the plaintiffs was objectively unreasonable and in

violation of the plaintiff’s constitutional rights.

          42. As a result of the foregoing, the plaintiffs’ liberty was restricted for an extended period

of time, and plaintiffs were put in fear for their safety, were humiliated and subjected to

handcuffing, and other physical restraints, all without probable cause, and plaintiffs sustained, inter

alia, loss of enjoyment of life, loss of liberty, emotional distress, mental anguish, embarrassment

and humiliation, shame, indignity, damage to reputation, and deprivation of his constitutional

rights.
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                             FOURTH CLAIM FOR RELIEF
                       MUNICIPAL LIABILITY UNDER 42 U.S.C. § 1983

        43. Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “42” with the same force and effect as if fully set forth herein.

        44. Defendants subjected the Plaintiffs to an unlawful warrantless search and seizure, and

false arrest, of the Plaintiffs.

        45. The acts complained of were carried out by the aforementioned defendants in

their capacities as police officers and officials with all the actual and/or apparent authority

attendant thereto.

        46. The acts complained of were carried out by the aforementioned individual

defendants in their capacities as police officers and officials pursuant to the customs, policies,

usages, practices, procedures, and rules of THE CITY OF NEW YORK, all under the

supervision of ranking officers of the New York City Police Department.

        47. The aforementioned customs, polices, usages, practices, procedures, and rules of

THE CITY OF NEW YORK and the New York City Police Department, include but are not

limited to the following unconstitutional practices:

                (a) Failing to properly train, in general;
                (b) Failing to supervise police officers;
                (c) Subjecting persons to violations of their constitutionally protected rights;
                (d) Subjecting persons to illegal searches and seizures;
                (e) Subjecting persons to excessive force;
                (f) Subjecting persons to false arrest.

        48. The foregoing customs, policies, usages, practices, procedures and rules of the

THE CITY OF NEW YORK and the New York City Police Department constituted a deliberate

indifference to the safety, well-being, and constitutional rights of the Plaintiff.

        49. The foregoing customs, policies, usages, practices, procedures and rules of the
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THE CITY OF NEW YORK and the New York City Police Department were the direct and

proximate cause of the constitutional violations suffered by plaintiff as alleged herein.

        50. Defendants, collectively and individually, while acting under color of state law,

acquiesced in a pattern of unconstitutional conduct by subordinate police officers and were

directly responsible for the violation of plaintiffs’ constitutional rights, for which THE CITY OF

NEW YORK is liable.

        51. As a result of the foregoing, plaintiffs sustained, inter alia, loss of enjoyment of life,

loss of liberty, emotional distress, mental anguish, embarrassment and humiliation, shame,

indignity, damage to reputation, and deprivation of his constitutional rights.

                            DAMAGES AND RELIEF REQUESTED

        52. Plaintiff repeats, reiterates and realleges each and every allegation contained in

paragraphs numbered “1” through “51” with the same force and effect as if fully set forth herein.

        53. All of the foregoing acts by defendants deprived the Plaintiff of federally protected

rights, including, but not limited to, the right:

                A. Not to be deprived of liberty without due process of law;

                B. To be free from seizure and arrest not based upon probable cause;

                C. To be free from unwarranted and malicious criminal prosecution;

                D. To be free from the excessive use of force;

                E. To receive equal protection under the law.

        54. By reason of the aforesaid conduct by defendants, plaintiff, JODELLE JOSEPH, is

entitled to the sum of one million dollars ($1,000,000.00) in compensatory damages, one million

dollars ($1,000,000.00) in punitive damages, plus attorney’s fees pursuant to 42 U.S.C. § 1988, as

well as costs and disbursements of this action, and any further relief as the Court may find just and
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proper.

          55. By reason of the aforesaid conduct by defendants, plaintiff, OLIVIA GRAHAM, is

entitled to the sum of one million dollars ($1,000,000.00) in compensatory damages, one million

dollars ($1,000,000.00) in punitive damages, plus attorney’s fees pursuant to 42 U.S.C. § 1988, as

well as costs and disbursements of this action, and any further relief as the Court may find just and

proper.

          WHEREFORE, Plaintiff, JODELLE JOSEPH, demands judgment in the sum of one

million dollars ($1,000,000.00) in compensatory damages, one million dollars ($1,000,000.00) in

punitive damages, plus attorney’s fees, costs and disbursements of this action, and

          WHEREFORE, Plaintiff, OLIVIA GRAHAM, demands judgment in the sum of one

million dollars ($1,000,000.00) in compensatory damages, one million dollars ($1,000,000.00) in

punitive damages, plus attorney’s fees, costs and disbursements of this action.




Dated: New York, NY
       February 6, 2015                                       /s/ Bryan Konoski
                                                      By:     _________________________
                                                              BRYAN KONOSKI (BK7563)
                                                              Treyvus & Konoski, P.C.
                                                              Attorney(s) for the Plaintiff
                                                              305 Broadway, 14th Floor
                                                              New York, NY 10007
                                                              (212) 897-5832
